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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA 9 e-> 7 py >. 19
ORLANDO DIVISION | ue

UNITED STATES OF AMERICA iiss ICT OF FL

Vv. Case No. 6:08-cr-176-Orl-28GJK
(Forfeiture)

FRANK L. AMODEO

AMENDED FINAL ORDER OF
FORFEITURE ONLY AS TO 4905 RESEARCH DRIVE

THIS CAUSE comes before the Court upon the filing of the Motion by the
United States for an Amended Final Order of Forfeiture only as to 4905
Research Drive, Huntsville, Alabama, to reflect the additional steps the United
States has undertaken to notify Degaboh LLC of the forfeiture.

Being fully advised in the premises, the Court finds that on October 2,
2008, the Court entered a Preliminary Order of Forfeiture, (Doc. 46), forfeiting to
the United States of America all right, title, and interest of defendant Frank L.
Amodeo in 4905 Research Drive, Huntsville, Alabama, which is more particularly
described as:

Address: 4905 Research Drive, Huntsville, AL

Legal: All that part of the Southwest Quarter of Section 32,
Township 3 South, Range 1 West of the Huntsville Meridian,
Madison County, Alabama. Particularly described as
beginning at a concrete monument at the Southwest corner
of the property herein described; said point of true beginning
is further described as being North 86 degrees 34 minutes
East, 1020.05 feet and North 03 degrees 26 minutes West
484.25 feet from the Southwest corner of Section 32,
Township 3, South, Range 1 West. Thence from the point
of true beginning North 03 degrees 26 minutes West, 561.10
feet to a concrete monument on the South margin of an
80.00 foot right-of-way for Research Drive; thence along the
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South margin of said right-of-way, North 86 degrees 57
minutes East, 326.56 feet to a concrete monument at the
Northwest corner of a 4.70 acre tract occupied by American
Data Corporation; thence along the West Boundary of said
4.70 acre tract, South 03 degrees 03 minutes East, 558.93
feet to a concrete monument; thence South 86 degrees 34
minutes West, 322.81 feet to the point of true beginning and
containing 4.17 acres more or less.

Subject to an easement reserved by the University of
Alabama Huntsville foundation, its successors, grantees,
and assigns, for the installation and maintenance of utilities,
sewers, and drainage facilities on or over, across, beneath,
and within a strip 25.0 feet in width taken evenly off each
boundary of the above described property.

Parcel Number: 14-09-32-3-000-022.000

The Court further finds that the only persons or entities, other than
defendant Frank L. Amodeo, known to have an alleged interest in the property,
are Degaboh, LLC and Lynda Hall, Madison County Alabama Tax Collector,
which is owed taxes on the Research Drive property.

The Court further finds that, on May 2, 2008, Degaboh, LLC was sent
notice of the civil forfeiture proceeding against the Research Drive property,
United States v. Real Property Located at 614 Lake Avenue, et al., Case No.
6:08-cv-670-Orl-22KRS and on July 29, 2009, notice of the criminal forfeiture
action. Both notices were sent via certified mail. Specifically, the May 2, 2008
notice was sent to Degaboh, LLC to A. Brian Phillips, counsel for the defendant
and the July 29, 2009 notice was sent to Corporate Creations Network, Inc. at
2094 Myrtlewood Drive, Montgomery, Alabama; as reflected in his Plea
Agreement, the defendant has consented to the forfeiture of the Research Drive

property. Moreover, the defendant has admitted that he is the sole owner of

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Degaboh, LLC and that the Reserach Drive property was purchased with his
criminal proceeds.

The Court further finds that the July 29, 2009 notice was sent to Degaboh,
LLC c/o Corporate Creations Networks, Inc., Registered Agent, 2094 Myrtlewood
Dr., Montgomery, AL 36111. On August 6, 2009, the certified mail was “Return
to Sender’ with handwritten notations “no longer agent” and “refused;” according
to the Alabama Secretary of State, Government Records, Corporation Details,
Corporate Creations Networks, Inc. is the last known registered agent for
Degaboh, LLC. To date, Degaboh, LLC has not filed a claim and that the time
in which it could file a petition has expired.

In addition, the Court finds that the United States has recognized the
Madison County Tax Collector's claim and will satisfy it, to the extent possible,
from the proceeds of the sale of the real property.

The Court also finds that pursuant to this Court’s Order issued on March
18, 2009, the United States was excused from providing any additional
publication notice because publication of the forfeiture of the assets identified in
the Preliminary Order of Forfeiture, including the Research Drive property, was
completed in connection with the parallel civil forfeiture, United States v. Real
Property located at 614 Lake Avenue, et al., Case No. 6:08-cv-670-Orl-22KRS.
(Doc. 65). The notice of forfeiture of these assets was published on an official
government website (www. forfeiture.gov) for at lease 30 consecutive days,
beginning on September 26, 2008 and ending on October 25, 2008. To date, no

other persons or entities have filed a petition to adjudicate their interest in the

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subject properties and the time for filing such petition has expired. Accordingly, it
hereby

ORDERED, ADJUDGED, and DECREED that for good cause show, the
United States’ motion is GRANTED.

Itis FURTHER ORDERED that all right, title, and interest in the
referenced property is CONDEMNED and FORFEITED to the United States of
America for disposition according to law, pursuant to 18 U.S.C. § 981(a)(1)(C),
28 U.S.C. § 2461(c), and Fed. R. Crim. P. 32.2(c)(2).

It is FURTHER ORDERED that upon entry of this Amended Final Order of
Forfeiture, the United States shall satisfy the Madison County Tax Collector's
claim, to the extent possible, from the proceeds of the sale of the real property.

It is FURTHER ORDERED that clear title to the property is now vested in
the United States of America.

DONE and ORDERD this 72 “Gay of Octte , 2009, in Orlando,

Florida.

 

UNIFED STATES DISTRIGTJUDGE
